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·1· · · · · · ANNOUNCER:· Warning:· The following program
·2· has been rated T for truth.· You can't handle the truth.
·3· Oh, we think you can.· Welcome to the Naked Truth Report
·4· with your host, truth warrior and myth buster, Kathleen
·5· Wells, the place where we distinguish fact from fiction,
·6· where data is used to drive points home and where
·7· Kathleen takes the position that Democrats and black
·8· politicians have destroyed black America.· Welcome to
·9· the Naked Truth Report.· Now your host, Kathleen Wells.
10· · · · · · KATHLEEN WELLS:· Welcome truth warriors, myth
11· busters.· Hey, it's going to be is a great show.· I have
12· a guest, and we're so deleted to have this guest.· This
13· is our third Sunday on the fraud that has taken place in
14· our elections, and my guest is the perfect person to
15· have this Sunday to talk about it.
16· · · · · · America is the land of the free and home of
17· the brave, is that right?· And my guest, Patrick
18· Byrne epitomizes that, freedom and courage and
19· bravery, right, Patrick?
20· · · · · · PATRICK BYRNE:· Oh, I think you're being
21· overly generous to me, Kathleen, but if you say it, who
22· am I to disagree.
23· · · · · · KATHLEEN WELLS:· Well, isn't today your
24· birthday, am I right?
25· · · · · · PATRICK BYRNE:· My gosh, you do your homework,


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·1· yes, it is.· I turn 58.
·2· · · · · · KATHLEEN WELLS:· Happy birthday.
·3· · · · · · PATRICK BYRNE:· Why, thank you.· As Indiana
·4· Jones said, it's not the years, it's the miles.
·5· · · · · · KATHLEEN WELLS:· Yes.· And your miles have
·6· been quite interesting actually.· I know this is not
·7· your first foray into uncovering corruption and fraud.
·8· I know your time is limited because you want to
·9· celebrate your birthday, so let's get right to it.· You
10· said that the election has been rigged.· It's a hundred
11· percent certainty that the election was rigged.· Talk to
12· us about it.
13· · · · · · PATRICK BYRNE:· Well, it was rigged very
14· strategically.· Somebody understood that to steal the
15· national election you don't have to have widespread
16· voter fraud in the sense of every state.· You need to
17· steal six states, and you can steal those six states by
18· stealing six counties.· But if you steal the be-Jesus
19· outs of those six counties and pad the vote and ballot
20· stuffing in those six counties, you can flip those
21· states and by that flip the electoral college and take
22· nation.· So it really comes down to stealing six
23· counties, and in those six counties they stole like
24· crazy, and those six counties are the county that
25· Atlanta is located in, Philly, Detroit, Milwaukee, and


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·1· then Maricopa, which is greater Phoenix, and Clark,
·2· which is greater Vegas.· So they set up a complete goon
·3· operation to steal those six counties.· If you go back
·4· to the days to the night of the election, you'll see
·5· those are the six places where there's crazy stuff
·6· happening from them sending up to muscle up to shove
·7· around Republican poll watchers to them putting up
·8· cardboard over the windows, to those are the places
·9· where they shut down the precincts and told everyone
10· that we're stopping voting, and the record showed that
11· we're stopping the continuing, and then in the middle of
12· the night they opened up for 90 minutes and imparted
13· 300,000 votes from somewhere.· The machines couldn't
14· even process 300,000 votes in that time, and suddenly
15· they're all 99.4 percent for Biden, so that's how it was
16· done.· It's not everywhere across the country, but they
17· went what I call full goon in six counties, and that six
18· counties steal the national election.
19· · · · · · KATHLEEN WELLS:· And they've been
20· Dominionizing our votes.· I didn't mention that Patrick
21· Byrne is the founder and former CEO or Overstock.com.
22· He has talked about wall street and they corruption
23· dealing with short sails, and now he has hired a full
24· team of cyber security experts, and you've been working
25· with this Dominionizing of our votes, you and your team


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·1· since 2018.· Talk to us about that.
·2· · · · · · PATRICK BYRNE:· Yeah, some of them have been
·3· on since 2018.· I would say rather than seeing me as the
·4· leader of the kingdom, which I'm not, think of it as the
·5· bad news bear, kind of a bad news bear assembly of cyber
·6· security companies and outside white hat hackers and
·7· investigators of different types and concerned citizens.
·8· So that's who I've been funding and helping coalesce.
·9· But one of the groups involved is a very professional
10· cyber security group that in 2018 there was an election
11· in Dallas that had irregularities and the state
12· government of Texas hired this cyber security group to
13· focus on Dallas and what had happened, and so they
14· had -- it was Dominion machines, and that group had two
15· -- it was actually a blue ribbon governor's panel, and
16· then that panel hired this group and that group -- they
17· had two years to study what you've had two weeks to get
18· your mind around, America, and what that is is these are
19· incredibly fragile, weak security systems.· They found
20· at least 12 different ways you can hack something on
21· Dominion machines starting with physical access where
22· their mother boards have open slots.· Anyone who can
23· physical access to the machine.· You can drop a certain
24· chip in that lot and thereafter compromise the machine
25· forever.


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·1· · · · · · Two, they're infected with -- they're
·2· widely infected with malware that steals their
·3· credentials so not only -- so somebody sitting back
·4· in China can actually log into the machine and do
·5· things.· There is all kinds of privileges given to
·6· the administrators of machines that go well beyond
·7· what an administrator of a precinct and election
·8· should be able to do.· Now, I can understand why they
·9· have -- the kind of functionality they have, these
10· machines are also used to run corporate elections and
11· different kinds of elections.· You can understand why
12· the machines might have functionality XYZ to sort a
13· corporate election where there are say different
14· classes of stock that have different ways of voting.
15· But in a democracy as people vote, votes should all
16· be one.· Nobody has their votes counted one and a
17· half or something.· There are ways of setting these
18· machines, and they did set these machines in order to
19· do that.· They have unweighted some votes.· There's
20· all kinds of crooked (inaudible) and the people who
21· are saying otherwise are talking through their hats.
22· I've been walking for four months now with these very
23· professional ethical hackers and cyber security
24· people, and I asked them how do you rate this now as
25· a difficulty one to ten to hack and they say two,


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·1· maybe a one.· And now that I understand it this
·2· fully, I would go on that.· An eighth grader could
·3· hack this stuff.· And there's plenty of pictures on
·4· You Tube, movies on You Tube with people in seven
·5· minutes, you know, doing the kinds of things.· So if
·6· you've been told that these things are secure, they
·7· are not secure.· And in addition, not only are they
·8· insecure. bit a well-organized effort was carried out
·9· on November 3rd, and they used those insecurities to
10· cheat massively in six counties, and those six
11· counties flipped those states, flipped the electoral
12· college and flipped the election.· And I'll add, I
13· say that not as a comfort, I did not vote for
14· Mr. Trump.· I'm a small L libertarian and I just vote
15· libertarian, so I've never voted Democrat or
16· Republican for president.· I'm coming at this purely
17· from -- I'm in love with the Constitution.· The
18· Constitution is my religion, and this can't stand as
19· it is.· This is completely hacked.· This is rigged,
20· this election.
21· · · · · · KATHLEEN WELLS:· Right.· And in fact, Krebbs
22· with the Department of Homeland Security, said this was
23· the most secure election ever, so he's lying.
24· · · · · · PATRICK BYRNE:· Yeah, he's full of it.
25· · · · · · KATHLEEN WELLS:· Yeah.


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·1· · · · · · PATRICK BYRNE:· Well, he's a lawyer from
·2· Microsoft.· In my experience lawyers can be wonderful
·3· people, but they often have what I would call a top
·4· sheeter's understanding of issues, and he's either a top
·5· sheeter or he's in on it.· But no, it's ridiculous to
·6· say.
·7· · · · · · The people I'm working with laughed and
·8· laughed.· Just from the point of view you can walk
·9· up -- anyone with the right machine, if you have
10· physical access to the machines, you can walk in and
11· plug in your keyboard and your monitor essentially
12· and drive the machine and load on it anything you
13· want to load on it.· If you can physically access the
14· machine, in 30 sections you can hack it, so it's just
15· silly for them to be saying that.
16· · · · · · KATHLEEN WELLS:· Yeah.· And you're supplying
17· this from your cyber experts to Sidney Powell and also
18· Trump's legal team; is that correct?
19· · · · · · PATRICK BYRNE:· Well, I'd say, I want to be
20· clear, I don't work for them or anything like that.
21· There's no formal arrangement, but we have been
22· gathering this evidence and trying to pipe it to anyone
23· who'll listen, and that includes the mainstream press.
24· And the mainstream press turned a deaf ear, but there
25· are people around the president who had quite open ears


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·1· about it.· And when we got, you know, when they
·2· understood -- I'm really not talking about 243 dead
·3· people in Philadelphia voting.· We're talking about
·4· maybe 300 to 600,000 fake votes in Pennsylvania is what
·5· we're talking about, their eyes got big.· So yeah, you
·6· can be sure that everything we're discovering and
·7· digging is betting piped to those people, but they very
·8· other sources of information and they have other
·9· narratives they're also running down.· But we are deeply
10· emersed and have been since the day after the election
11· in gathering affidavits, gathering grass roots.· All
12· kinds of people from the grass roots have been helping,
13· and everything that gets fed us have been fed from the
14· beginning into the hands of Sidney Powell and Mayor
15· Giuliani, and they are, you know -- I've said -- I think
16· people have way overread the fact that they're taking
17· separate approaches.
18· · · · · · KATHLEEN WELLS:· Yeah.
19· · · · · · PATRICK BYRNE:· You know, different approaches
20· as to what's going on, but I support both approaches,
21· and our data says that both approaches are correct.
22· · · · · · KATHLEEN WELLS:· Yeah.· You know, and I was
23· just listening to an interview that General Flynn gave
24· yesterday, and also Retired Lieutenant General
25· McInerney, and this is deeper and broader and more


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·1· badder than we actually realized because it seems to be
·2· that the servers that were seized in Germany for
·3· Dominion, in Frankfurt, Germany is on a CIA server
·4· forum.
·5· · · · · · Now, us truth warriors here believe in
·6· that.· Yes, we believe that the CIA is involved with
·7· the deep state because we read Michael Calder's book,
·8· JFK vs. the CIA.· So do you have any insight into
·9· that, retrieving, seizing of the server in Germany?
10· · · · · · PATRICK BYRNE:· Well, I can tell you this.· If
11· you go back, and this is in the public domain.· If you
12· go back a little over a decade, you'll see that there
13· was -- and this is in the public domain, you'll see that
14· in Frankfurt, Germany there was an operation that was
15· focused against Russian hacking, and that operation
16· later moved to Baltimore and became the Silk Road Task
17· Force and spawned a couple crooks, a couple federal
18· agents who stole bitcoin and are serving prison times.
19· That original Frankfurt group also was operating under
20· the authority of, I understand, Rosenstein.· This was
21· years ago.· So there is a long held connection FBI, CIA.
22· They had a task force back in Frankfurt over a decade
23· ago, and that's known in the public domain.· So it does
24· not surprise me, although I don't know if the CIA is
25· involved in this.· It may not be as simple as that, and


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·1· I don't want to comment or impugn anybody, so let's not
·2· jump to who are the real gray beards behind this all or
·3· the (inaudible) behind this all because I don't want to
·4· speculate or anything like that, so that's probably the
·5· best answer.· However, I can say that it's in the public
·6· domain that there was once an operation in Frankfurt
·7· played a role, a central, a very important role if you
·8· look back into the Silk Road Task Force.· Google that
·9· and Frankfurt, Germany, and you'll see that there's been
10· some activities there in the past.
11· · · · · · And now the question of who got those
12· servers.· Has it been confirmed that the good guys
13· got them because there was a concern that some bad
14· guys intercepted them.· Has Flynn and McInerney --
15· · · · · · KATHLEEN WELLS:· Yeah, McInerney.· Yeah, they
16· said that -- that was an interview I think today or
17· yesterday, that the good guys have the servers.· Yeah,
18· special forces.
19· · · · · · PATRICK BYRNE:· I'd love to -- that's great.
20· · · · · · KATHLEEN WELLS:· I can send you that
21· interview.· I can send you that interview.· I'll send it
22· to Regis.
23· · · · · · PATRICK BYRNE:· Yeah, that's great.· Because
24· that will clear a lot of this up.· But actually I'm not
25· even sure.· I mean, it is interesting the stuff is all


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·1· being shipped over there overseas, but really that might
·2· be where manipulation is occurring, but we have
·3· uncovered mountains and mountains of manipulation
·4· occurring right at this retail level, and very clever
·5· ways they did it.
·6· · · · · · You know I've been saying publicly -- I'll
·7· tell your viewers something now that I have not yet
·8· said publicly, and I've been telling this story about
·9· it being six counties.· But what we've also realized
10· is that there were other strategies where they went
11· to heavily Republican counties.· They took blue
12· counties that were already blue and they made them
13· bluer, and they also went to heavily Republican
14· counties and they stole votes, but not enough votes
15· to tip things because it would alert people.· If you
16· had a 60 percent -- if they expected 62 percent
17· Republican and it came out the Democrats won in that
18· county, everyone would say that there was something
19· too fishy about that.· But they might change it from
20· the Republicans winning 62 percent to 58 percent or
21· Trump winning 62 percent to 58 percent.· That still
22· is oh, that's a -- but they were shaving off.· So
23· they were shaving out of heavily Republican counties.
24· They were cheating there.
25· · · · · · There's one state in particular.· We had


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·1· actually two states we notice this for a fact this is
·2· what they did.· We have the hard -- like we have --
·3· there's no question.· There's physical evidence of
·4· these things.
·5· · · · · · KATHLEEN WELLS:· You're able to discern this
·6· by reverse engineering it?· Is that how that's done?
·7· · · · · · PATRICK BYRNE:· There's different ways.· Some
·8· of it -- reverse engineering refers to the whole
·9· process.· We've taken the end product and we are taking
10· the end product, we figured out how they did it.· We
11· went back and picked it apart.· Reverse engineering is
12· we'd say what the Chinese do, we invent a new gadget
13· here.· They get a copy of it, they take it apart and see
14· how it was built and then they build their own.· That's
15· reverse engineering.
16· · · · · · This group studied the Dallas election of
17· 2018 for two years and reverse engineered it.· They
18· teased it apart and figured out all the different
19· ways you can cheat these systems, and the truth is
20· we're seeing evidence of those different ways in what
21· just happened.
22· · · · · · KATHLEEN WELLS:· Are you there?
23· · · · · · PATRICK BYRNE:· Yeah, I'm here.
24· · · · · · KATHLEEN WELLS:· What was that last thing you
25· just said?· You're seeing evidence of how this happened?


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·1· · · · · · PATRICK BYRNE:· Yeah.· We knew beforehand,
·2· okay, this is how they're going to cheat.
·3· · · · · · KATHLEEN WELLS:· Oh, I see yeah.
·4· · · · · · PATRICK BYRNE:· It's just what we expected.
·5· · · · · · KATHLEEN WELLS:· Yeah.· So it was anticipated
·6· because you've been examining or analyzing this stuff
·7· since 2018 for the folks in Dallas, Texas.
·8· · · · · · PATRICK BYRNE:· Yeah.
·9· · · · · · KATHLEEN WELLS:· So what -- let's see, General
10· Flynn was saying that the momentum is shifting because
11· of Sidney Powell's lawsuit filed the eve of Thanksgiving
12· in Pennsylvania in the federal district court.· What do
13· you anticipate legally will happen?
14· · · · · · PATRICK BYRNE:· Well, I think ultimately this
15· had to be -- this is so -- this has to be addressed on
16· the federal level.· First of all, the states -- this is
17· way beyond something that the -- the state courts are
18· heavily politicized.· This has to go to I think the
19· Supreme Court for anyone to accept it.· I think the
20· probable remedy is revote.· If an election has 243 dead
21· people vote and you can go and you can pull those names
22· out and you can see what the score would have been.· But
23· when an election is as completely scrambled as this is,
24· I think the only thing you have to do is they have to
25· revote.


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·1· · · · · · KATHLEEN WELLS:· I don't know.· Is that
·2· something that they allow in the Constitution?· The
·3· presidential election must take place on November 3rd
·4· that's in the Constitution if I'm not mistaken.
·5· · · · · · PATRICK BYRNE:· Well, they say the first
·6· Tuesday in November?
·7· · · · · · KATHLEEN WELLS:· Uh-huh.
·8· · · · · · PATRICK BYRNE:· So yeah, I think a judge -- I
·9· think the Supreme Court could order certain states,
10· places where there had been this complete craziness
11· revote.· However, the Constitution does have a provision
12· for that as well that says -- and this happened once in
13· 1876.· Rutherford B. Hayes ran against a guy whose name
14· was Tilden, and Tilden actually won, but there was three
15· states whose elections had been so corrupt there was no
16· way after the fact to unscramble what had really
17· happened, and so the whole thing got kicked to the house
18· and that's, you know, had showed a lot of -- our
19· forefathers knew there was a lot of corruption and knew
20· there was election corruption, and so they created a
21· provision that says if something becomes a complete
22· meltdown -- this is what they did.· It's goon behavior,
23· and sending people to muscle groups around in voting
24· booths is actually not -- it's shocking behavior.· So if
25· the Supreme Court lets this stand, they are painting a


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·1· kick me sign on the back of election laws.· At no point
·2· will it be possible to enforce election laws because
·3· there will be a precedent that says, you know, if they
·4· want to, election officials can just change the rules in
·5· defiance of what the state legislature says.
·6· · · · · · KATHLEEN WELLS:· Right.
·7· · · · · · PATRICK BYRNE:· And they can kick observers
·8· out of election booths and precincts and such and
·9· there's no repercussion.· And look at what they did to
10· Alito.· Alito told them you've got to -- I think he
11· should have enjoined them.· He should enjoin them from
12· accepting late ballots.· He did.· He said you can
13· because keep them separate and we'll handle this later,
14· and they accepted them and then they did not keep them
15· separate, so there's no way to unscramble them.· So they
16· essentially just stuck a finger in the eye of a Supreme
17· Court justice.· They violated an order, an injunction
18· from a Supreme Court justice.· If they let that stand,
19· then gee, there's a whole lot of the rest of us who are
20· spending a whole lot of time and energy trying to follow
21· the law.
22· · · · · · KATHLEEN WELLS:· Exactly.
23· · · · · · PATRICK BYRNE:· And maybe we shouldn't because
24· some people don't seem to have to follow the law, follow
25· what judges say, so why am I spending so much time and


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·1· energy worrying about it.
·2· · · · · · KATHLEEN WELLS:· Right.· That's why I think it
·3· has to be deeper than we realize because for them to
·4· just flaunt the law like that in our face, and then the
·5· media to just ignore it like nothing has taken place,
·6· and anyone who brings up this idea of fraud is a lunatic
·7· to the media.· That's why I think it has to be something
·8· deeper, like CIA related or something like that because
·9· it's just going against the grain completely.· We don't
10· have a country if they're not recognizing the law.· You
11· have no country, you have no republic.
12· · · · · · PATRICK BYRNE:· Yeah.· You've got a rule of
13· law.· It's an important thing.· It's not the country.
14· Every conspiracy theory in the world, the CIA, I'm not
15· going to say that.
16· · · · · · KATHLEEN WELLS:· Okay.
17· · · · · · PATRICK BYRNE:· I've seen no evidence of that
18· that I'm going to discuss here anyway.· No, I'm kidding.
19· What we have is no doubt in my mind that the election
20· was stolen in a coordinated strategic way, and there is
21· an entity behind it.· There is an entity behind it.
22· · · · · · KATHLEEN WELLS:· You would say the deep state,
23· right?
24· · · · · · PATRICK BYRNE:· Yeah, you would say the deep
25· state.· The deep state.· The deep state.· There's a lot


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·1· of things riding on stealing this.· And what happened in
·2· everything, their whole plan, decades in the making
·3· rides on them stealing this and that's why they went
·4· on -- and the other thing that happened is Trump broke
·5· the algorithm.· Basically there are dials
·6· in the machine, so to speak, that they can shift and
·7· change votes, but he won by a margin bigger than their
·8· ability to cheat that way.· And because he did, they had
·9· to go -- that's why they had to go full goon and do
10· things like shut down voting booths and kick people out
11· and pulling 600,000 ballots out of nowhere and run them
12· through the machines and just say the hell with you.
13· That's what we did.
14· · · · · · KATHLEEN WELLS:· There's my music, Patrick.
15· When we come back, I know you're in a hurry.· It's your
16· birthday.· It's a special day, but if you have a few
17· more minutes you can end it out.
18· · · · · · PATRICK BYRNE:· Absolutely.
19· · · · · · KATHLEEN WELLS:· Okay.· Let's take a break.
20· We're going to take a break, we'll be right back.· We're
21· speaking with Patrick Byrne who is the founder and
22· former CEO of Overstock.· He epitomizes the land of the
23· free and the home of the brave.· So join us.· This is
24· Naked Truth Report.· I'm your host, Kathleen Wells, and
25· we'll be right back.


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·1· · · · · · (Music)
·2· · · · · · KATHLEEN WELLS:· Welcome, naked truth
·3· warriors.· Sorry, I was tongue tied there.· Anyway, my
·4· guest is Patrick Byrne, and he is the founder and former
·5· CEO of Overstock, and he has hired a team of cyber
·6· security guys that know how to ethically hack, is that
·7· an oxymoron, I don't know, ethically hack.· They've been
·8· working with Dominion computer machines since 2018,
·9· looking at the system and seeing how it works.· And in
10· fact, one of the allegations in Sidney Powell's
11· complaint that she filed last week with the federal
12· district court in Pennsylvania is that with the Dominion
13· machines one can actually alter the ballot.· Is that
14· correct, Patrick?
15· · · · · · PATRICK BYRNE:· Yeah.· You can actually
16· physically -- these machines turn out to be actually not
17· just readers.· They actually have printers inside, and
18· they can actually print.· And in fact, they have a
19· library of codes.· When they print and fill in the
20· circle, they don't fill it in perfectly like a machine.
21· They have marks that go on that look like human marks
22· that look like a hand did them.· They advertise that.
23· That's in their library of marks within the machine.
24· They marks that make it look like a human did it.
25· · · · · · So one thing have run through the machines


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·1· that have been compromised.· You have no idea what
·2· was there.· You have no idea what was there.· I hate
·3· to sound so discouraged, but the fact that this even
·4· got certified and is being used is itself, there has
·5· got to be a corrupt story behind that.· It all got
·6· signed off along the way.· Anybody that understands
·7· cyber security would never sign off on these.· Yeah,
·8· the guy who was saying this is the most secure
·9· election in history, I don't know if he's a con man
10· or what, but it's ridiculous.
11· · · · · · KATHLEEN WELLS:· Yeah.· Well, you know, the
12· Epic Times did a summary of the allegations contained in
13· Sidney Powell's complaint that she filed last week, and
14· one of the allegations is they certified them.· The
15· certification is undated for one, and for two it was
16· certified before they even examined the business
17· machines.· In fact, they updated them subsequent to
18· certifying them, these undated --
19· · · · · · PATRICK BYRNE:· That's correct.· And they are
20· broken in a number of ways.· One is the way
21· certification is supposed to work, and since it's in her
22· complaint I can talk about it, the way it's supposed to
23· work is there's a group that sets the federal group
24· called NIST, National Institute of Science and
25· Technology or standards or something or other.· Then


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·1· there's another federal group called the Election
·2· Assistance Commission, and the Election Assistance
·3· Commission is to locate private laboratories and certify
·4· them as capable of examining states' election machinery
·5· and signing off on it.· So it's private laboratories who
·6· go that states hire to come in.
·7· · · · · · Well, the certification -- there's really
·8· only two -- as far as we can tell, there seem to be
·9· only two private laboratories in the country who do
10· that certification, and they have some interesting
11· ties themselves, and it's not clear -- actually it
12· looks clear to me that one of them, their
13· certification that gives them the power to certify
14· other people's machines, that their certification
15· lapsed in 2017, which if they did that it means the
16· elections in 2018 and 2020 were largely held on
17· machines that were not certified because the
18· certifying laboratory is itself not certified to do
19· it anymore, at least according to public documents.
20· Now, there may be some private documents that no one
21· ever put online.· But it looks like the last time
22· they ever got certified was 2015, and it lapsed in
23· March of 2017.· So it could be that somewhere between
24· 20 and 50 percent of the machines that the whole
25· country used were actually running on machines that


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·1· their certification had broken.· It had a broken
·2· chain.· Now, that's before you even get to the issue
·3· of there's laws governing you can't be in there right
·4· before an election updating the machinery.· It's got
·5· to be examined.· It's frozen and such and they
·6· violated that.· There were people uploading new
·7· software a night or two before the election, and
·8· that's been documented in Georgia and other places.
·9· They were uploading new software a night or two.
10· It's like a federal crime.
11· · · · · · And yeah, there was somebody being told --
12· that has given an affidavit saying they were being
13· told to certify as if it was election day, but it was
14· actually I think two days before election day.
15· · · · · · KATHLEEN WELLS:· Right.
16· · · · · · PATRICK BYRNE:· And then even in those two
17· days they didn't even have the machine.· Someone else
18· had, you know, could do what they wanted.· So even if
19· they had been doing -- the election officials had been
20· doing what they were supposed to, the chain of
21· certification all the way back to the private
22· laboratories is broken, and it looks like some of these
23· guys weren't doing what they were supposed to.· They
24· were up to no good and doing things like what we just
25· discussed.· So yeah, it's -- pardon me for using graphic


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·1· language.· It's just such -- well, I shouldn't say it on
·2· the radio, but it's such a -- it's an egg that can't be
·3· unscrambled.· There's no way to unscramble things that
·4· we're uncovering.· The significant portions of the
·5· machines used across the country may well have been
·6· outside their certification date.· And even ones that
·7· were, they installed software at the very end in
·8· violation of the law.· They uploaded and attached new
·9· software in a way that violated their certification, and
10· we also know that these things are filled with a type of
11· malware called Q Snatch.· And if you go to VD Net, which
12· is a technology journal from last July, there was an
13· article how 66,000 Dominion machines are infected with Q
14· Snatch.· Q Snatch lets people steal the administrator's
15· credentials and send them off to the Ukraine or to
16· China, and so someone in China can be logging onto a
17· machine that's in Maricopa County, Arizona fiddling the
18· votes.· And in addition, on top of all that, that all
19· assumes even the administrators in the U.S. are honest.
20· But it turns out the administrators in the U.S. are
21· given powers way beyond what you would think a precinct
22· administrator.· They can move votes around, shift votes
23· and erase votes and print new ballots and all kinds of
24· things that are -- well, again, you can imagine someone
25· running a corporate election might want to have that


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·1· functionality, but there's no way that somebody running
·2· a political election in states which are already prone
·3· to -- there's so much corruption involved in election
·4· matters that you would want an administrator to have the
·5· kind of powers that a corporate secretary would have.
·6· So it's really just terrible.
·7· · · · · · KATHLEEN WELLS:· Horrific.· And all these
·8· allegations and more are contained in Sidney Powell's
·9· complaint filed with the federal court.· And also Matt
10· Brainard, who is with the Voter Integrity Project, just
11· tweeted tonight that the FBI has contacted him and wants
12· all his documentation, so that's a good thing.
13· · · · · · PATRICK BYRNE:· Oh, yeah.
14· · · · · · KATHLEEN WELLS:· So that's a good thing.· So
15· finally they're getting involved because President Trump
16· in his interview this morning with Maria Bartiroma said
17· the FBI and the CIA, or rather the Department of
18· Justice, rather, are missing in action, so to speak, and
19· he doesn't know what's going on.· So the FBI have
20· contacted the Voter Integrity Project, so that's a good
21· thing, right?
22· · · · · · PATRICK BYRNE:· Well, it's a good thing that
23· they have, but it could just be -- you know, I've always
24· been a big fan of the FBI all my life, even though I
25· think they've let me and us down in different ways, but


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·1· I've always been their cheerleader, but I'm a little bit
·2· disappointed.· There's somebody I'm not a fan of, and
·3· that's the SEC.· I think that they're really corrupt,
·4· and I'm quite surprised to see -- my experience in the
·5· FBI even adversarially was always sort of white-shirted
·6· professionals, the kind of people who make you proud to
·7· be an American.· I don't know what the heck is going on
·8· over there, I really don't because it's crazy.· The last
·9· four years have been crazy.· But yeah, they're not, you
10· know, I'll put it this way.· If they're right there
11· doing something, we're right there sniffing down.· We
12· have all these grass roots people sniffing up and down a
13· lot of trails.· We sure aren't hearing or crossing their
14· paths, so I didn't get the sense that they're up there
15· trying to take any aggressive posture, but it's nice
16· after the President mentioned it in a national interview
17· that they decided it's time to start calling.· That's
18· nice.
19· · · · · · KATHLEEN WELLS:· Yeah, that's nice.· And also
20· I read that Jill Stein got a ruling in October, last
21· month, that she can now -- she has access to the source
22· code because when she ran in 2016 on the green party
23· ticket she felt that some than hanky panky was going on,
24· so she's going to have access to the source code now.
25· · · · · · PATRICK BYRNE:· Yeah.· And that's great.· But


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·1· are you familiar with the whole Seth Rich controversy?
·2· · · · · · KATHLEEN WELLS:· Yeah, uh-huh.· Well, him
·3· being -- you know, I listen to Bill Still report, so he
·4· keeps us up to date on everything.
·5· · · · · · PATRICK BYRNE:· I listen to Still report,
·6· yeah.· He's good.
·7· · · · · · KATHLEEN WELLS:· Yeah.
·8· · · · · · PATRICK BYRNE:· Well, Seth Rich, here's the
·9· official story, but it may tie into what we're seeing
10· here.· Seth Rich was a DNC worker, voting supporter, and
11· he got mad, and this is the publicly acknowledged stuff.
12· He got mad because he felt that the DNC had cheated
13· Bernie out of the primary and giving it to Hilary.· And
14· then according to one version of the story he downloaded
15· the DNC emails onto a thumb drive and sent them to
16· WikiLeaks.· According to the official narrative, that
17· was done from Russia.· However, I don't think it was
18· done from Russia because the speed of the download shows
19· that it could not have been done.· It had to be somebody
20· inside.· Well, and then Seth Rich was killed allegedly
21· by a mugger.
22· · · · · · Well, maybe Seth Rich -- so that's the
23· official narrative.· Whether you believe -- we know
24· he was killed by the mugger, and we know he believed
25· that Bernie had been cheated and gave to Hilary.


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·1· Whether or not he downloaded the emails or that was
·2· Russia we'll just set aside for a second.· just
·3· remember he believed that she was cheated and he got
·4· killed.
·5· · · · · · Maybe he didn't get killed just because he
·6· downloaded emails.· Maybe he knew.· I mean, the thing
·7· was he had known that Hilary -- the DNC had somehow
·8· cheated Bernie and given it to Hilary.· Maybe what he
·9· knew -- oh, by the way, the area of the DNC he worked
10· in was the area of the DNC that dealt with the voting
11· systems in primaries.· You've got to verify that
12· before you quote me on that, but look that up and
13· look at where Seth Rich worked within the DNC.· He
14· had something to do -- he would have been in the
15· position to, and I'm blocking on the title.· But as I
16· recall, if you dig into that you'll find that he
17· worked in the part of the DNC that if this equipment
18· was being used to rig the election for Hilary against
19· Bernie he would have known that in the position he
20· was in.· And what do you know.· He went out saying
21· that it was rigged.· This is maybe how they rigged
22· it, and that would have been something worth killing
23· him for because if there was a guy in 2016 knew that
24· these Dominion machines could be used to do Dominion
25· ES and S machines could be used to do this kind of


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·1· stuff, then that would have been a dangerous person
·2· to have running on the streets, somebody with that
·3· knowledge.
·4· · · · · · KATHLEEN WELLS:· Well, yeah.· They've been
·5· Dominionizing our machines for years, right?
·6· · · · · · PATRICK BYRNE:· Yeah.
·7· · · · · · KATHLEEN WELLS:· For quite a few elections.
·8· · · · · · PATRICK BYRNE:· Yeah.· The real problem is
·9· they were invented in Venezuela.· I mean, the scientists
10· came from Venezuela.· This is really a Venezuelan
11· project.· It came from Venezuela.· When you hear
12· Venezuela, the real chain of command is China, Iran,
13· Venezuela.· When you hear Venezuela, even when they were
14· first introducing these machines, we had affidavits
15· about how they had dozens of Venezuelans out there all
16· over the U.S. pushing these systems and training people
17· on it.· It's very much they do everything they can to
18· make it look like a nonVenezuelan, but there's really a
19· corporate -- what there really is, some lawyer needs to
20· go back to this.· You've got to go back to Smartmatic,
21· which really started in Venezuela and it came to the
22· U.S.· It shows up as a Florida company, but they play
23· games like, you know, one company called Smartmatic was
24· formed in Venezuela, but we formed a whole new company
25· in Florida called Smartmatic, so it's not really the


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·1· case that this started in Venezuela.· Well, it's a
·2· distinction without a difference.· Come on.· They're
·3· just playing word games.· So Smartmatic turned into a
·4· company called Sequoia.· And then somewhere between
·5· bankruptcies and licensing agreements and mergers and
·6· acquisitions and divestitures that core functionality
·7· and software ended up in the heart of at least two of
·8· the major brands that commercial machines offered in the
·9· U.S., and those are Dominion and ES and S.
10· · · · · · The same software is inside them both, or
11· software that has the same genetic lineage, so it
12· really is Venezuelan systems.· And why did Hugo
13· Chavez want this?· Because he wanted to rig his
14· elections for life, and so he designed software where
15· the precinct administrators would have the power to
16· game a little, and so that might be where the vote is
17· being gamed, it might be back in the tabulation
18· process, it might be back in Spain, might be back in
19· Germany.· Maybe those are just warm stand operations,
20· I don't know, but there's 12 different places where
21· this stuff can be intercepted and gamed and played
22· with and it's going to take real -- more than we
23· could do without subpoenas and badges and guns in
24· three weeks to really get to which of those were
25· used.· But we can see where places were -- or a


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·1· number of the different techniques were used.· You
·2· know, we have hard evidence.
·3· · · · · · We have, you know, a lot of poll workers,
·4· Republican and Democrats have utilized what they used
·5· and what they took part in, and they're horrified and
·6· they're being honest.· Even Democrats are coming
·7· forward and contacting us and giving us all kinds of
·8· inside information and evidence.
·9· · · · · · KATHLEEN WELLS:· Right, because it's beyond
10· the pale.· And there's actually an allegation by -- a
11· sworn affidavit who said that he was a cousin of an
12· executive of Smartmatic, and he was paid millions of
13· dollars between 2003 and 2015 by the Venezuelan
14· government to have Smartmatic software around the world,
15· including the United States.· That's an allegation
16· contained in Sidney Powell's complaint.
17· · · · · · PATRICK BYRNE:· Yeah.· And that affidavit, and
18· he's a fellow that's a son of -- there's two affidavits
19· like that.· One of them is a fellow from the
20· intelligence community, and one is something else.               I
21· mean, from the Cuban intelligence or something.· I mean,
22· they're very powerful affidavits, very specific.· They
23· afi to everything I just told you.· They put real meat
24· on the skeleton I just told you.
25· · · · · · KATHLEEN WELLS:· And in fact, the Libertarian


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·1· candidate, had votes, Jorgensen had votes taken from him
·2· and given to Biden.· And so you know, Jill Stein lost
·3· some of her votes and the Libertarian, Johnson in 2016.
·4· This has been going on for years.· We saw it right here
·5· in California during the mid term 2018 in Orange County
·6· which is a traditionally Republican district, and in all
·7· four houses, just like this election, at night during
·8· election day the Republican is winning and you get up
·9· the next morning and a Democrat has won all four seats.
10· So California suffered Dominionizing.
11· · · · · · PATRICK BYRNE:· This has been going on --
12· well, remember in 2018 how in Orange County how
13· surprising some of the results were?
14· · · · · · KATHLEEN WELLS:· Yeah.· That's what I was just
15· talking about, Orange County, yeah.
16· · · · · · PATRICK BYRNE:· I thought you were saying 2020
17· it happened.
18· · · · · · KATHLEEN WELLS:· Oh, no.
19· · · · · · PATRICK BYRNE:· Yeah.· I think this has been
20· going on since 2012.· It may be the case that Mitt
21· Romney won 2012, and I do not say -- I did not vote for
22· Mitt Romney.
23· · · · · · KATHLEEN WELLS:· Right.
24· · · · · · PATRICK BYRNE:· But if you look at 2012,
25· there's the same basic pattern.


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·1· · · · · · KATHLEEN WELLS:· Exactly.
·2· · · · · · PATRICK BYRNE:· 2016 it was going to happen,
·3· and -- it was going to happen, and somebody interfered
·4· with it so it did not happen is what happened in 2016,
·5· that's what's so funny.· Somebody else interfered with
·6· it and it did not happen.· But Hilary with counting on
·7· it happening, and Biden was counting on it happening
·8· this time, which is why Biden never had to -- you know,
·9· doesn't it seem funny to look back just a few weeks.
10· And again, I'm not saying this as a Trump supporter.             I
11· did not vote for him.
12· · · · · · KATHLEEN WELLS:· Right.
13· · · · · · PATRICK BYRNE:· There was an Arizona, a
14· caravan 96 miles long in favor of Trump.· When Biden
15· showed up, I think one of his first campaign rallies was
16· in Arizona, and like there were nine people, and six of
17· them were campaign workers.
18· · · · · · KATHLEEN WELLS:· And then also Biden had that
19· Freudian slip when he said we set up the biggest voter
20· fraud organization going.· There was a Freudian slip
21· that he said.
22· · · · · · PATRICK BYRNE:· Of course.
23· · · · · · KATHLEEN WELLS:· And today he just had a
24· fracture in his leg playing with his dog in his foot.
25· That might be a precursor of things to come.


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·1· · · · · · PATRICK BYRNE:· Yeah.· Do you also remember
·2· how he, just on Thanksgiving, he gave the quadrennial
·3· president elect Thanksgiving address which he just made
·4· up.· When they put him, the media threw everything they
·5· can to reinforce this.· So we got the Thanksgiving
·6· president elect address, and a thousand people were
·7· watching it.
·8· · · · · · KATHLEEN WELLS:· Oh, right, right, right.· And
·9· yet we're supposed to believe he got 80 million votes.
10· It's strange credulity.
11· · · · · · PATRICK BYRNE:· ·16 million more than Obama.
12· · · · · · KATHLEEN WELLS:· Right, right, right.· There's
13· my music.· It was great talking to you.· I know you went
14· longer.· I hope I didn't keep you from your birthday
15· celebrations, Patrick.· I want to wish you a happy
16· birthday again.· This is a great month.· My birthday is
17· in this month also.· It's a great month to have a
18· birthday.
19· · · · · · PATRICK BYRNE:· Okay.· Well, thank you for
20· having me.
21· · · · · · KATHLEEN WELLS:· You're very welcome.· Thank
22· you Patrick Byrne.
23· · · · · · So we were just speaking with Patrick Byrne
24· who is the founder and CEO, former CEO of Overstock.
25· And he's hired a cyber security team to disclose or


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·1· reveal the fraud that has taken place in our 2020
·2· elections.· We'll be back next week.· We'll probably
·3· be talking about this again because I can't get
·4· enough of it.· See you next week, and I hope you all
·5· had a happy Thanksgiving.· Okay, bye.
·6· · · · · · (End of recording.)
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·3

·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

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·8· from an audio recording and was transcribed to the

·9· best of my ability.

10

11· · · · · · Dated this 22nd day of July, 2021.

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